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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,                        )
                                                 )
                                                 )
     v.                                          ) Criminal No. 19 Cr 490 (RMB)
                                                 )
JEFFREY EPSTEIN,                                 )
           Defendant


                          Motion For Admission Pro Hac Vice

       Pursuant to Rule 1.3 of the Local Rules for the United States District Court for the

Southern District of New York, I Martin G. Weinberg, hereby move this Court for an

Order for admission Pro Hac Vice to appear as co-counsel for Jeffrey Epstein in the

above-captioned matter.

       Counsel states that he is a member in good standing of the bar of the

Commonwealth of Massachusetts and there are no pending disciplinary proceedings

against counsel in any state or federal court.


                                                       Respectfully submitted,


                                                       /s/ Martin G. Weinberg
                                                       Martin G. Weinberg, Esq.
                                                       Mass. Bar No. 519480
                                                       20 Park Plaza, Suite 1000
                                                       Boston, MA 02116
                                                       Telephone: (617) 227-3700
                                                       Facsimile: (617) 338-9538
                                                       owlmgw@att.net
Dated: July 15, 2019


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                                  Certificate of Service

        I, Martin G. Weinberg, hereby certify that on this date, July 15, 2019, a copy
of the foregoing document has been served via CM/ECF on Assistant U.S. Attorney
Alex Rossmiller and all other counsel of record.


                                                     /s/ Martin G. Weinberg
                                                     Martin G. Weinberg
